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                                UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

                                    SAN FRANCISCO DIVISION



BRYON JACKSON,                               )      Case No. 3:21-cv-08458-LB
                                             )
   Plaintiff,                                )      JOINT STIPULATION REGARDING
                                             )      TARGET WITNESS KIMARA SMITH
v.                                           )
                                             )
TARGET CORPORATION,                          )      Trial Date:   February 26, 2024
                                             )
   Defendant.                                )
_____________________________________________)
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        WHEREAS, under the Court’s pretrial order, plaintiff is entitled to “a short video deposition

[this] week to remedy any issue” raised in plaintiff’s motion in limine no. 1. Docket No. 139.

        WHEREAS, the parties have conferred concerning Target’s intent to call Ms. Smith;

        WHEREAS, the parties agreed that, in lieu of any deposition of Ms. Smith or offering any live

testimony from Ms. Smith at trial, the following facts are stipulated as undisputed and shall be read to

the jury:

             1. An employee of Target, Ms. Smith, was working at the Alameda Target on July 8, 2021;

             2. On that date, Ms. Smith was pushing a shopping cart as part of her employment, and

                struck Mr. Jackson in the coffee shop inside the Alameda Target.

IT IS SO STIPULATED.

Date: February 20, 2024                           Respectfully submitted,



___________________________________                /s/ David V. Roth
                                                  ____________________________________
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                                 STIPULATION REGARDING TARGET WITNESS KIMARA SMITH
